        Case 1:21-cr-00708-RCL Document 82 Filed 02/07/23 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

       v.                                               CRIMINAL NO. 21-CR-708 (RCL)


LEO KELLY


                                             ORDER

       Pending before the Court is the motion of defendant Kelly to vacate the status conference

currently set via VTC on February 3, 2023. The motion being unopposed and meritorious, it is

       ORDERED that the motion is GRANTED/DENIED. The status hearing will be reset to

                       2023-AM ,,. .. '1 ,u,.,.,
    � � 'f ,
       Signed this __-,_"-_ day of        -'k.e�   •1       ,2023.




                                              R0V-C. LAMBERTH
                                              UNITED STATES DISTRICT WDGE
